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ALW:ERK/WJE/JJ
F. #2004R02094

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

- - - - - - - - - - - - - - - - X

UNITED STATES OF AMERICA

   - against -
                                                04 CR 846 (S-2)(ILG)
SANJAY KUMAR AND
STEPHEN RICHARDS,

                 Defendants.

- - - - - - - - - - - - - - - - X




       GOVERNMENT’S SECOND REPLY MEMORANDUM CONCERNING DATA
             DELETION BY DEFENDANTS KUMAR AND RICHARDS




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           The government recently received, in response to

defendant Kumar and Richards’ forensic tests, the follow-up

report of David Burg of PriceWaterhouseCoopers (“Burg Second

Rept.”) (attached hereto as Exhibit A).          Based on the Second

Report’s conclusions, we now respond more fully to the

defendants’ claims in their responses of April 3, 2006.

I.   Response to Richards’ and His Expert’s Factual Assertions

     A.    Richards’ Installation of the “Incinerator” Wiping
           Program Was Not, As He Claims, Done in the Normal
           Course of CA’s Business

           As the Second Report concludes, the disposal of

Richards’ older laptop makes it forensically impossible to test

(a) when data was deleted from Richards’ older computer, (b)

whether Richards transferred all of the files from one computer

to the next, or (c) most importantly, whether other files were

incinerated prior to the creation of the Incinerator file.1

There is no way even to verify that Richards’ older computer was

in fact malfunctioning.      What can, however, be stated with

certainty is that Richards’ defense – that his use of the



     1
          Richards makes much of the fact that the second step –
the actual incineration – was not taken. This does not, however,
undermine the conclusion that Richards did not intentionally
delete, or attempt to delete, data sought by the government.
First, Richards may have deleted other files prior to the
creation of the still-extant incinerate file, as indicated by Mr.
Burg’s report. Burg Second Rept., at 3. Second, Richards may
have believed, incorrectly, that he had deleted data by sending
it to the Incinerate file, and simply misunderstood whether the
second step was required.

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Incinerator was consistent with CA’s normal practices and the

March 2002 document-retention policy – is false.

           First, neither Richards nor his expert ever

articulated, nor could they have, why Richards was attempting to

use the Incinerator on his old computer before migrating data to

his new laptop.     Even viewing CA’s policies most charitably to

the defendants, CA users wiped old laptops after data was

transferred to a new machine, so that the data from the old

machine did not float into the wrong hands.          See, e.g., Defendant

Kumar’s April 3, 2006 Response to the Government’s 404(b) Motion

(“Kumar Response”), at 9 (when “an old laptop was replaced with a

newer one . . . company practice was to copy all files onto the

newer laptop, and then wipe the older laptop clean”); see

also id. at 10 (quoting CA employee Tamrya Reich stating CA’s

policy that the company needed to transfer and preserve data

“before we erase and redistribute the machine” in question) (all

emphasis added).     See also Affidavit of Sanjay Kumar dated

December 19, 2003 (attached as Exhibit C to Kumar Response), at 1

(CA’s policy, according to Kumar, was to delete data from his old

laptop computers “after all data files had been moved from that

old laptop computer to a new laptop computer”) (emphasis added).

Wiping data prior to transfer would, of course, render the data

non-existent, because it would not transfer to the new computer

once deleted.


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           As noted in the government’s initial brief, CA’s data-

wiping policy was suspended (if it ever existed) in March 2002,

over a year before Richards installed the wiping software.              As

demonstrated in the preceding paragraph, however, Richards’

actions did not constitute ordinary-course conduct for CA even

under the old, pre-investigation policy.

           Second, the process by which Richards obtained the

Incinerator program did not comport with normal procurement

practices at Computer Associates.         CA has determined that it has

no record that the company ever ordered the System Mechanic or

Incinerator software that Richards used.          Likewise, there is no

record that Richards ever submitted a reimbursement request or

expense report for the purchase of the System Mechanic software.2

Therefore, it appears that Richards purchased the software on his

own, without going through any of the ordinary channels at CA,

and never revealed to the legal department or anyone else at CA

that he was purchasing or using the Incinerator.3           Moreover,


     2
          In fact, a search of Richards’ hard drive reveals not a
single reference, anywhere in the contents of his email
correspondence, to the words “Incinerate,” “Incinerator,” or
“System Mechanic.”
     3
          Needless to say, Richards never followed the
instructions set forth in several document-preservation memoranda
that if employees had any question about whether a planned action
comported with the document-retention policy, they should contact
the legal department at the number provided. See Document
Retention Memorandum dated March 1, 2002 (attached as Exhibit H
to Kumar Response). Kumar apparently never followed this policy
either.

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Richards did not seek the assistance of CA employee Joseph

Petito, who provided computer support to high-level CA

executives, in installing the wiping software.           Plainly, the fact

that Richards acted outside CA’s normal business channels belies

the assertions that his conduct was both innocent and consistent

with CA’s regular practices.4

     B.    Whether Richards Installed The Incinerator in
           August or July is Immaterial

           Mr. Burg’s Second Report states that the file

containing Richards’ e-mail messages, the so-called “PST” file,

“was sent to the Incinerator on July 23, 2003.”           Burg Second

Rept., at 3.     Mr. Richards’ expert concurs that July 23, 2003

was the date the file was “last modified.”          Litchfield

Declaration, at ¶ 14.      Richards bases virtually his entire

argument to exclude the “Incinerator” evidence on the fact that

because he installed it on July 23, prior to the issuance of the

August 25 SEC subpoena calling for his testimony, the

installation of the wiping software is immaterial.            This argument

is frivolous.

           If anything, the fact that the Incinerator program was

used on July 23 is more, not less, incriminating, because that



     4
          Lastly, CA has been unable to locate Mr. Richards’
older (purportedly malfunctioning) laptop, and defendant Richards
has proffered no statement of its whereabouts. This
disappearance, too, supports the conclusion that Richards was
endeavoring to render data unavailable.

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date falls squarely within the time period when the government

began to accelerate its demands for “missing” and “status”

reports – the very documents that Kumar and Richards used to

track contracts so that they could decide how many days to “keep

the books open” while they continued to close backdated deals.

(Ultimately, it was the recovery and assembly of reams of FY2000

missing and status reports – which were indisputably distributed

to Kumar and Richards – that established beyond doubt the

existence of the 35-day month practice.)          Prior to June 2003, CA

had consistently denied that such reports from Fiscal Year 2000

continued to exist, as it denied the existence of the 35-day

month practice itself.      By late May 2003, however, the government

had obtained evidence from third-parties – predominantly CA’s

customers – that showed widespread backdating of contracts, and

informed CA that in the government’s view, the 35-day month

practice had occurred and senior CA executives had participated.

Thus, on June 27, 2003, the SEC issued a formal subpoena (the

“June 27 Subpoena”) that more specifically demanded the

production of missing and status reports.5          Shortly after, on


     5
          Government subpoenas had called for the production of
documents including such reports, among other documents, for
substantially more than a year. The June 27 Subpoena, however,
contained a particularized description of the missing and status
reports themselves, demanding production of “[a]ny and all
reports used by Computer Associates management and/or sales force
to track contract negotiations, and all drafts, amendments, e-
mails, correspondence and notes concerning such reports and/or
the information contained within such reports.” See June 27

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July 2, 2003, the company’s Board of Directors voted to initiate

an independent internal investigation of the 35-day month

practice.

            CA responded to the June 27 Subpoena on July 23, 2003 –

the very day on which the Incinerator program was last modified

on Richards’ computer – by, for the first time, producing a small

number of missing and status reports and indicating that the

company had, so far, located only “a limited number of such

[status] reports that were created during the Period [including

Fiscal Year 2000].”      See Letter from Wachtell, Lipton et al. to

the Securities and Exchange Commission dated July 23, 2003

(attached hereto as Exhibit C), at 2.         The letter went on,

however, to state that “CA is continuing to search for additional

status reports and if any additional status reports are located

they will be produced promptly.”          Accordingly, at the very moment

that CA first acknowledged that it had located a small quantity

of incriminating documents – and stated, importantly, that it

would focus on finding more such reports if they existed –

Richards was installing the “Incinerator” program on his old

laptop, which Richards claimed “blew up” shortly thereafter, on

approximately August 11, 2003.        See E-mail from Stephen Richards

to Walt Thomas dated August 11, 2003, 9:52 a.m. (attached to



Subpoena (attached hereto as Exhibit B), “Production” Section,
Item 2.

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Richards’ Response as Exhibit B).         Given the centrality of the

missing and status reports – which Richards indisputably received

and used – to proving the 35-day month fraud, this evidence

powerfully demonstrates Richards’ consciousness of guilt

concerning the backdating of contracts.

           Richards may attempt to argue that the government’s

articulation of relevance has shifted from the August 25, 2003

SEC Subpoena to the June 23, 2003 SEC Subpoena.           The initial

difficulty in pinpointing the timing of the installation of

wiping software, however, is obviously a function of the facts

that (a) Richards procured and installed the “Incinerator”

program outside of CA’s normal IT practices, making it impossible

to date through CA records, and (b) Richards apparently disposed

of (or directed the disposal of) the old laptop without bothering

to inform CA’s legal department or its outside lawyers that he

was doing so.    Accordingly, Richards should not be permitted to

profit from the difficulty in establishing the timeline of

events.

II.   Response to Kumar’s and His Expert’s Factual Assertions

      A.   Contrary to Kumar’s Expert’s Conclusions, Linux
           Reformatting Is Highly Destructive

           Kumar’s forensic expert, Joseph Looby, devoted

substantial effort to quantifying the destructive effects of

reformatting a computer to run the Linux operating system.             He

concluded that after the installation of Linux on a test

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computer, “with the use of e-mail recovery software, we were able

to recover and read various complete e-mails, including

attachments.”      Looby Report dated April 3, 2006 (“Looby Rept.”),

at 4 (attached to Kumar Response as Exhibit A).           Mr. Looby says

nothing about how much previously extant data would survive a

Linux reformatting, but the implication of his report is that the

installation of Linux is not, in itself, damaging to pre-existing

data.       This implication, which Kumar’s counsel attempted to

reinforce at oral argument,6 is incorrect: Linux installation is

highly damaging to data on a computer’s hard-drive.            As Mr.

Burg’s Second Report states, “[h]ad Kumar not wiped the hard

drive prior to installing Linux, the installation of Linux would

have overwritten and rendered unrecoverable approximately one-

third of the hard drive.       In addition, the remaining two-thirds

of the drive would have been impaired by the installation of

Linux.”      Burg Second Rept., at 2.     This destruction, moreover,

would have been prominently articulated to the user (i.e., Kumar)

prior to beginning the reformatting process: “WARNING – You have

selected to remove all partitions (ALL DATA) on the following


        6
          Specifically, Mr. Tigue stated: “So the expert
affidavit that we put in said that it was wiped, and you can tell
by looking at it, and that they did an experiment and took the
image from Mr. Kumar’s computer and installed Linux on top of
what was already there, and it wasn’t obliterated. They were
able to uncover and read many e-mails, together with attachments,
and including, I think the deleted e-mail.” Transcript of Oral
Argument dated April 7, 2006 (“Hearing Tr.”) at p. 10, lines 14 -
20.

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drives ... Are you sure you want to do this?”           See Screenshot of

Linux Reformatting Initiation Screen (attached hereto as Exhibit

D).

            In addition, Mr. Burg’s Second Report confirms that

prior to being reformatted for Linux, Mr. Kumar’s laptop was

either wiped or encrypted.        Burg Second Rept., at 1.       Mr. Looby’s

conclusion is the same.       Looby Rept., at ¶ 3.      It remains

unclear, however, why defendant Kumar believes this conclusion

supports his motion.      The forensic testing establishes that Kumar

took two independent steps to destroy data and that both steps

were effective.     Under the circumstances, Mr. Kumar’s contention

is analogous to arguing that a person acted innocently in

throwing his laptop into the East River because, prior to

submerging the computer, the user had run it over with his car.

            Indeed, the jury could reasonably infer that Kumar

reformatted his laptop for Linux after wiping because he hoped,

at the time, to cover the wiping software’s traces.             This

conclusion is buttressed by the demonstrable falsity of Kumar’s

proffered reason for installing Linux: Kumar claims that he used

the laptop in question “solely to test software,” but Mr. Burg’s

examination revealed that no CA software for the Linux operating

system (nor any other software) was ever installed after the

Linux reformatting.      Burg Second Rept., at 2.

      B.    The First Burg Report Explicitly Detailed The
            Basis for the Clock-Tampering Conclusion

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            At oral argument, Kumar’s counsel conceded that his own

expert does not contest the government’s most incriminating

allegation – that the user of the so-called Linux laptop tampered

with the computer’s internal clock to make the reformatting

appear to have occurred months earlier.          Kumar’s counsel did,

however, attempt to pin this failure on his claim that Mr. Burg’s

initial report “has no authority whatsoever” for the clock-

tampering conclusion.       Hearing Tr., at page 16, line 22.         There

is, however, no such lack of supporting detail in the Burg

Report.    As the government pointed out at oral argument, the

initial Burg Report is replete with supporting detail, including

footnotes 1 through 11.

            Among other things, the Burg report states that the

Linux installation began on April 3, 2003 and ended on October

11, 2003, and that the session ran on battery power – i.e., the

laptop was not plugged into an outlet.          Burg therefore concluded,

based on this fact and the fact that the clock-time program was

accessed during the session, that the user altered the clock.

Any other explanation would defy the laws of physics: there

simply exists no commercially available laptop battery that can

run for six months on battery power alone.

            In response, Kumar’s forensic expert – who has his own

working copy of the hard-drive – could have contested Mr. Burg’s

conclusions (i) concerning the start date of the reformatting


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session; (ii) that the clock-setting application was accessed

during the session; (iii) concerning the end-time of the session,

(iv) that the session was conducted on battery power; or (v) that

no battery in the real world can power a laptop for that

duration.    Instead, Mr. Looby challenged none of these

conclusions.     Moreover, defense counsel never contacted the

government, or the Court, to indicate that they required some

additional statement of Mr. Burg’s methodology in order to test

his conclusions.7     Accordingly, as indicated in the government’s

prior submission, the Court should consider the allegation

concerning the clock-tampering to be uncontested for purposes of

this motion.




      7
          The government notes that it received a letter on April
21, 2006 – the date of this response – asking for some additional
details concerning this aspect of Mr. Burg’s report. At the
moment, the reason for the request remains unclear.

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                                 CONCLUSION

            For the foregoing reasons, the government’s motions in

limine should be granted.


Dated: Brooklyn, New York
       April 21, 2006


                                           Respectfully submitted,

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